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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                 HATTIESBURG DIVISION

UNITED STATES OF AMERICA

VS.                                                   CRIMINAL CAUSE NO. 2:06cr1-KS-MTP

RICHARD LUCAS, KIMBERLY CASTLE
AND KENNETH STALNAKER

                                     ORDER CLARIFYING

        This cause is before the Court on [404] Motion to Clarify Scope of Count 1 Ruling made

by this Court in Order dated November 22, 2006 [403], filed by the United States, Response

thereto by Kimberly A. Castle and Reply by the Government, and the Court after considering

same finds, that the Motion for Reinstatement and Clarification should be sustained as more

particularly set forth herein.

        In its Order on Motion for Judgment of Acquittal pursuant to Rule 29 Fed. R. Crim. P.

[403], the Court sustained Defendant Castle’s Motion for Acquittal as to Counts One and Two.

The basis for granting the request was that there was no federal nexus. The funds that were taken

as a part of the scheme were not federally insured and §§ 1344 and 1014 did not apply. This

Court did not specifically address the continued viability of the conspiracy to commit wire fraud

in violation of Title 18 U.S. Code § 371, with the object of the conspiracy being to violate Title

18 U.S. Code § 1343. Count One alleged a § 371 violation with three specific objects of the

conspiracy, being violations of §§ 1014, 1343 and 1344. The Court’s finding that there is no

federal nexus to establish jurisdiction of objects under §§ 1014 and 1344, is affirmed and Rule 29

Motions are granted as to said violations. However, this Court was in error in granting a Rule 29

Motion as to the § 1343 object of § 371 (conspiracy to commit wire fraud). The wire fraud
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conspiracy is not dependent upon “insured” funds to be a violation of federal law. The jury

returned a special verdict as to Count One and found all three defendants guilty of all three

objects of the conspiracy, including the conspiracy to commit wire fraud. The Government’s

proof was sufficient to establish a wire fraud conspiracy and, therefore, this Court’s Order should

be clarified and amended to find that the conspiracy to commit wire fraud portion of Count One

stands independently of the conspiracy to commit bank fraud. The convictions of all three

defendants, Lucas, Castle and Stalnaker, as to Count One, Conspiracy to Commit Wire Fraud,

shall stand and the Rule 29 Motion is denied as to same. This is consistent with the specific

finding of the jury and this Court’s application of the statutes involved.

       For the above reasons, the convictions of all three defendants as to Count One shall stand

based on the conspiracy to commit wire fraud finding by the jury.
                             th
       SO ORDERED this the 30'  day of January, 2007.

                               s/
                               UNITED STATES DISTRICT JUDGE
